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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
                                                   § CASE NO. 6:12-CR-00059-RC
 v.                                                §
                                                   §
                                                   §
 CORNELIUS MARQUIS MURPHY (13)                     §
                                                   §

                    ORDER ADOPTING THE MAGISTRATE JUDGE'S
                        REPORT AND RECOMMENDATION

       The court referred a petition alleging violations of supervised release conditions to the

Honorable K. Nicole Mitchell, United States Magistrate Judge, at Tyler, Texas, for consideration

pursuant to applicable laws and orders of this court. The Court received and considered the Report

of the United States Magistrate Judge filed pursuant to such order, along with the record, pleadings

and all available evidence.

       At the close of the revocation hearing, U.S. Magistrate Judge K. Nicole Mitchell

recommended:

1.     that the Court find that Defendant violated a standard condition of release as alleged in
       Allegation 2 in the petition, in that he failed to refrain from the use and possession of a
       controlled substance;

2.     that Defendant’s supervised release should be revoked pursuant to 18 U.S.C. § 3583; and

3.     that Defendant should be sentenced to a term of 9 months of imprisonment with no
       supervised release to follow.

       Neither party has filed objections to Judge Mitchell’s Report and Recommendation.

Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct and

the report of the magistrate judge is ADOPTED. It is therefore
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      ORDERED and ADJUDGED that the petition is GRANTED and Cornelius Marquis

Murphy’s supervised release is REVOKED.

      Judgment and commitment will be entered separately, in accordance with the magistrate

judge’s recommendations.


     So ORDERED and SIGNED this 17 day of April, 2017.




                                                ___________________________________
                                                Ron Clark, United States District Judge




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